        Case 1:21-cv-00717-LY Document 38 Filed 09/15/21 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT                  F-.

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                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION                  2I2ISEPI5 PM 3:55

E.T., BY AND THROUGH HER
PARENTS AND NEXT FRIENDS; D.D.,
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BY AND THROUGH HER PARENTS         §
AND NEXT FRIENDS; E.R., BY AND     §
THROUGH HER PARENTS AND NEXT       §
FRIENDS; J.R., BY AND THROUGH      §
HER PARENTS AND NEXT FRIENDS;      §
H.M, BY AND THROUGH HER            §
PARENTS AND NEXT FRIENDS; N.C.,    §
BY AND THROUGH HER PARENTS         §
AND NEXT FRIENDS; J.G., BY AND     §
THROUGH HER PARENTS AND NEXT       §
FRIENDS; E.S., BY AND THROUGH      §
HER PARENTS AND NEXT FRIENDS;      §
M.P, BY AND THROUGH HER            §
PARENTS AND NEXT FRIENDS; S.P.,    §
BY AND THROUGH HER PARENTS         §
AND NEXT FRIENDS; R.S., BY AND     §
THROUGH HER PARENTS AND NEXT       §
FRIENDS; J.V., BY AND THROUGH      §
HER PARENTS AND NEXT FRIENDS;      §
H.P., BY AND THROUGH HER           §
PARENTS AND NEXT FRIENDS; AND      §
A.M., BY AND THROUGH HER           §
PARENTS AND NEXT FRIENDS,          §
                   PLAiNTIFFS,     §
                                   §
V.                                 §    CAUSE NO. 1:21-CV-717-LY
                                   §
GOVERNOR GREG ABBOTT, IN HIS       §
OFFICIAL CAPACITY AS GOVERNOR      §
OF TEXAS; MIKE MORATH, IN HIS      §
OFFICIAL CAPACITY AS THE           §
COMMISSIONER OF THE TEXAS          §
EDUCATION AGENCY; AND THE          §
TEXAS EDUCATION AGENCY,            §
                DEFENDANTS.        §
          Case 1:21-cv-00717-LY Document 38 Filed 09/15/21 Page 2 of 2



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       Before the court is the above-styled and numbered action. On September 15, 2021, the court

conducted a hearing on Plaintiffs' Emergency Motion for Temporary Restraining Order filed August

18, 2021 (Doc. #7), at which counsel for all parties appeared and presented argument. Having

considered the motion, response, reply, and argument of counsel, the court

       ORDERS that Plaintiffs' Emergency Motion for Temporary Restraining Order filed August

18, 2021 (Doc. #7) is DENIED substantially the reasons stated on the record in open court.

       SIGNED this                day of September, 2021.




                                            UNI ED STATES DISTRICT JUDGE




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